Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 1 of 13 PageID 29




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Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 2 of 13 PageID 30
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 3 of 13 PageID 31
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 4 of 13 PageID 32
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 5 of 13 PageID 33
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 6 of 13 PageID 34
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 7 of 13 PageID 35
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 8 of 13 PageID 36
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 9 of 13 PageID 37
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 10 of 13 PageID 38
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 11 of 13 PageID 39
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 12 of 13 PageID 40
Case 4:23-cv-01175-O Document 8 Filed 11/29/23   Page 13 of 13 PageID 41
